Case 1:O4-cr-10061-.]DT Document 191 Filed 07/14/05 Page 1 of 6 Page|D 255

UN|TED STATES DlSTRlCT COURT

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uNlTED sTATEs oF AMERch JUL 1 '* 2005
ThOm _
-v- 04-10061-01-1' U 38 §=1‘3¢¢°"'€53‘°"‘

JOHN D|CUS

Mathew Maddox CJA
Defense Attorney
19695 East Main Street
P. O. Box 827
Huntingdon, TN 38344

 

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1s of the Superceding lndictment on February 25,

2005. According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

 

Date Offense Count
Title & Section N_EWLUY_ Concluded Numberfsl
21 U.S.C. § 846 Conspiracy to Manufacture and 08/24/2004 1

Distribute Methamphetamine

The defendant is sentenced as provided in the following pages of this judgmentl The

sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Count(s) 23, 35 and 4s dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notifythe United States Attorney for this district
within 30 days ofany change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of |mposition of Sentence:
Defendant’s Date of Birth: 09/12/1966 Ju|y 13, 2005
Defl’s U.S. N|arsha| No.: 19659-076

Defendant’s Mai|ing Address:
1623 Vine Street
Humbo|dt, TN 38343

%wl>.W

Th! JAN|ES . TODD
s document entered on the docket sheet fn com§llance CH|EF |TED STATES D|STR|CT JUDGE
l

with Ftula 55 and/or 32(b] FRCrP on
Ju|y f :Z , 2005
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Case 1:O4-cr-10061-.]DT Document 191 Filed 07/14/05 Page 2 of 6 Page|D 256

Case No: 1:04cr10061-01-T Defendant Name: John Dicus Page 2 of 5
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of

F’risons to be imprisoned for a term of 57 Months as to Count 1s of the Superceding
|ndictment.

The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. l\/larshal

Case 1:O4-cr-10061-.]DT Document 191 Filed 07/14/05 Page 3 of 6 Page|D 257

Case No: 1:O4cr10061-01-T Defendant Name: John Dicus Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to Which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test Within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

‘l. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10} days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

Case 1:O4-cr-10061-.]DT Document 191 Filed 07/14/05 Page 4 of 6 Page|D 258

Case No: 1:04cr10061-01-T Defendant Name: John Dicus Page 4 of 5

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. lfthisjudgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminai lVlonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall paiticipate as directed in a program of testing and treatment for
substance abuse as directed by the Probation Oft"ice.

2. The defendant shall cooperate in the collection of DNA as directed by the Probation thce.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythefo|lowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Total Restitution

$100.00

The Special Assessment shall be due immediately

Case 1:O4-cr-10061-.]DT Document 191 Filed 07/14/05 Page 5 of 6 Page|D 259

Case No: 1:O4cr10061-01-T Defendant Name: John Dicus Page 5 of 5

FlNE
No fine imposed.
REST|TUT|ON

No Restitution Was ordered.

SDISTRICT COURT - WESTERN D"CTRIT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 191 in
case 1:04-CR-10061 Was distributed by faX, mail, or direct printing on
.1 uly 15, 2005 to the parties listed.

 

 

Matthevv M. Maddox

MADDOX MADDOX & MADDOX
P.O. Box 827

Huntingdon, TN 38344

.1 erry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable .1 ames Todd
US DISTRICT COURT

